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DJW/3
                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

HARTFORD FIRE INSURANCE
COMPANY,

                              Plaintiff,                        CIVIL ACTION

v.                                                          Case No. 05-2001-DJW

P & H CATTLE COMPANY, INC.,
et al.,

                              Defendants.


                               MEMORANDUM AND ORDER

        This matter comes before the Court on Plaintiff’s Motion to Compel Responses to Discovery

(doc. 124) and Motion to Quash Depositions (doc. 135). Plaintiff requests, pursuant to Fed. R. Civ.

P. 37, that the Court compel the Peak Trust Defendants to serve complete answers and responses to

its First Interrogatories and Request for Production of Documents. In its Motion to Quash

Deposition, Plaintiff requests that the Court quash the Notice to Take Deposition Duces Tecum

served upon it pursuant to Rule 30(b)(6). As set forth below, the motions are granted in part and

denied in part.

I.      BACKGROUND

        Plaintiff Hartford Fire Insurance Company (“Hartford”) commenced the instant action

against P & H Cattle Company, Inc. (“P & H Cattle”); Emporia Livestock Sales, Inc.; Olma V. Peak;

Velma Peak; Tim Reece d/b/a Reece Cattle Company (“Reece”); the Olma V. Peak and Velma M.

Peak Irrevocable Trust (“Peak Trust”); and the Peak Trust’s co-trustees, Amby Scott Peak, Virginia

L. Morris, and Chrysanne M. Haselhorst. Count I of Plaintiff’s Complaint asserted a claim for

contractual indemnity under a general indemnity agreement against P & H Cattle, Emporia
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Livestock Sales, Inc., Olma V. Peak, and Velma Peak (hereinafter the “Peak Indemnity

Defendants”). Count II asserted a claim for common law implied indemnity against Reece. In

Counts III and IV, Plaintiff seeks to set aside fraudulent conveyances to the Peak Trust under

common law and K.S.A. 33-201 et seq. against Olma V. Peak, Velma M. Peak, the Peak Trust, and

the Peak Trust trustees. In their Answer, the Peak Indemnity Defendants, Peak Trust, and its trustees

asserted a counterclaim against Hartford for negligence, and a cross claim for implied indemnity

against Defendant Reece.

       On July 28, 2006, the Court entered summary judgment in favor of Plaintiff on its contractual

indemnity claim (Count I) against the Peak Indemnity Defendants. Final judgment was entered

against these defendants on Count I, jointly and severally, on January 4, 2007 in the amount of

$183,051.68.1 The Court further dismissed Plaintiff’s claim for common law implied indemnity

(Count II) against Defendant Reece. In addition, the Court dismissed the Peak Indemnity and Peak

Trust Defendants’ negligence counterclaim against Plaintiff, as well as their cross-claim for implied

indemnity against Defendant Reece. Counts III and IV, which allege that on February 17, 1998,

Olma and Velma Peak fraudulently conveyed a substantial number of their assets into the Peak

Trust, are the only remaining claims.

       On August 15, 2007, the Court granted Plaintiff’s motion for an order requiring Defendants

Olma and Velma Peak to appear for a hearing in aid of execution. On October 7, 2007, the Court

held a hearing in aid of execution pursuant to Fed. R. Civ. P. 69, at which Plaintiff inquired of

Defendants Olma and Velma Peak regarding their assets. Plaintiff had previously served a request

for production of documents upon these defendants directing that they produce certain documents


       1
        See Judgment in a Civil Case Pursuant to Fed. R. Civ. P. 54(b) dated Jan. 4, 2007 (doc. 89).

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for this purpose at or before the hearing. Plaintiff sought production of records pertaining to a

number of subjects, including: (1) life insurance policy information; (2) information regarding two

limited liability companies, P and H Cattle Company, LLC, and Peak Cattle, LLC, in which Olma

or Velma Peak allegedly have an interest; and (3) information regarding the assets of the Peak Trust.

Defendants Olma and Velma Peak agreed to produce the life insurance policy information and

information regarding the two limited liability companies, but objected to producing the records of

the Peak Trust as those records were not in their care, control, or custody. On November 20, 2007,

the Court ordered Defendants Olma and Velma Peak, as qualified beneficiaries of the Peak Trust,

to make a written request to the Trustees of the Peak Trust for all documents to which they are

legally entitled under the terms of the Peak Trust, or under the Uniform Trust Code, K.S.A 58a-101

et seq., that are responsive to Plaintiff’s Request for Production of Documents, and to provide the

documents received to Plaintiff.2

       On June 17, 2008, the Court held a telephone status conference on Plaintiff’s Motion for

Extension of Time to Conduct Discovery and Other Deadlines.3 The Court vacated the current

schedule and granted the parties sixty days to conduct and complete any necessary discovery and

for them to resolve the issue of substitution of Olma Peak under Fed. R. Civ. P. 25.4 Plaintiff was

to further advise the Court whether it intended to proceed against the Peak Trust and Trustees.

       Relevant to the present motion to compel, Plaintiff served its First Interrogatories and First

Request for Production of Documents to the Peak Trust and its trustees (hereinafter the “Peak Trust

       2
        See Nov. 20, 2007 Order Requiring Produc. of Docs. in Aid of Execution (doc. 106).
       3
        See Minute Sheet for June 17, 2008 Status Conference (doc. 115).
       4
        Olma V. Peak died on May 17, 2008. See Suggestion of Death Regarding Olma V. Peak
(doc. 112).

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Defendants”) on July 17, 2008.5 The Peak Trust Defendants served their Discovery Responses to

the Interrogatories and Request for Production of Documents on August 18, 2008.6 They asserted

objections to Interrogatory Nos. 2-5 and all nine of the Requests for Production of Documents.

       At the August 25, 2008 telephone status conference, Plaintiff advised the Court that an estate

for Defendant Olma Peak was opened August 21, 2008, and that it intended to file a motion to

substitute his estate for the deceased.7 Plaintiff further advised that it did not intend to pursue

involuntary bankruptcy against Defendant Velma Peak. Plaintiff further advised the Court that it

intended to proceed against the Peak Trust Defendants, and would file a motion to compel with

regard to the August 18, 2008 discovery responses served by the Peak Trust Defendants.

       Plaintiff filed the instant Motion to Compel Discovery on October 8, 2008. In response, the

Peak Trust Defendants filed a Motion to Strike the motion based upon Plaintiff’s failure to file the

motion within the thirty-day period set forth in D. Kan. Rule 37.1(b). The Court denied the Motion

to Strike the Motion to Compel on November 24, 2008, and gave the parties additional time to file

a response and reply brief. 8

       On January 13, 2009, the Peak Trust Defendants served their Notice to Take Depositions

Duces Tecum upon Plaintiff.9 The Notice seeks for Plaintiff to produce a Rule 30(b)(6) corporate



       5
        See Certificate of Service (doc. 116).
       6
        See Defs.’ Notice of Service of Disc. Resps. to the Interrogs. and Req. for Produc. of Docs.
(doc. 118).
       7
       On Sept. 29, 2008, the Court granted Plaintiff’s unopposed motion to substitute the Estate
of Olma V. Peak for the deceased Defendant Olma V. Peak. See doc. 123.
       8
        See Mem. & Order (doc. 129).
       9
        See Notice to Take Dep. Duces Tecum (doc. 134).

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representative to testify regarding nineteen areas of inquiry and seeks production of documents for

sixteen requests. Plaintiff Hartford filed its Motion to Quash Depositions on January 26, 2009.

       On May 22, 2009, counsel for Defendants filed a Motion to Withdraw as Counsel. The

Court granted the motion on June 25, 2009, but recognizing that corporate and trust defendants

cannot appear pro se, ordered Defendants P & H Cattle, Emporia Livestock Sales, Inc., and the Peak

Trust to obtain counsel to represent them by July 31, 2009.10 This deadline was later extended to

August 21, 2009.11       To date, no counsel has entered an appearance on behalf of any of the

Defendants remaining in the case.

II.    MOTION TO COMPEL DISCOVERY

       A.        Specific Interrogatories and Requests for Production in Dispute

       In its Motion to Compel Discovery, Plaintiff requests that the Court compel the Peak Trust

Defendants to serve complete answers and responses to its First Interrogatories Nos. 2-5 and

Requests for Production of Documents Nos. 1-9. Plaintiff’s Interrogatory No. 2 asks the Peak Trust

Defendants to identify “all bookkeepers and accountants who have kept or supervised the keeping

of books of account or records from January 1, 1998 until present.” Interrogatory No. 3 similarly

seeks identification of “all firms or individuals who were in possession of” these books of account

or records. Interrogatory Nos. 4 and 5 ask the Peak Trust Defendants to identify certain transfers

of real estate and personal property from any of the Peak Indemnity Defendants to the Peak Trust.

Specifically, Interrogatory No. 4 requests identification of all transfers of real estate to the Peak

Trust from the Peak Indemnity Defendants or from the Peak Trust to another person or entity


       10
            See Order Authorizing Withdrawal of Counsel (doc. 141).
       11
            See Aug. 3, 2009 Order (doc. 143).

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occurring for the time period January 1, 1998 to the present. For each transfer identified, it requests

the following information:

       the description/location of the property, the identity of each and every owner of the
       property prior to the transfer, the date of transfer, the percent of interest acquired or
       owned by the Trust, the identity of the record title holder after the transfer, the
       purchase price paid by the Trust for each transfer, and the sale price received by the
       Trust for each transfer.

Interrogatory No. 5 asks the Peak Trust Defendants to provide information regarding any transfers

of personal property to the Peak Trust from the Peak Indemnity Defendants, including the

“description/location of the property, the name of the title holder before the transfer, the date of

transfer, the market value of the property at the time of the transfer[], the purchase price paid by the

Trust and the percent owned by the Trust.”

       The Peak Trust Defendants served the following answer to Interrogatory Nos. 2-5:

       Defendants object to this discovery request. The Trust is an irrevocable spendthrift
       trust which has not been set aside by any Court Order. The information and
       documents sought is privileged and confidential. The Plaintiff is attempting to
       conduct a prejudgment aid and execution style hearing in regard to the assets of the
       spendthrift trust without first setting aside the Trust.

       “A universally recognized corollary is that courts can neither prevent or force the
       exercise of discretion by the trustee nor specify a particular exercise or otherwise
       interfere with or impinge on such . . . discretion when it is expressly vested, without
       condition or limitation, under the terms of the trust instrument. Again, Texas is in
       accord: Texas courts ‘are limited in their powers over the trustee of a discretionary
       trust,’ prohibited by law from interfering with the discretion of the trustee absent a
       clear showing of fraud or other egregious conduct. No such fraudulent or egregious
       conduct by the Trustees is charged in the instant case, so court interference with the
       unconditional discretion vested in the Trustees is prohibited by applicable trust law.”
       Bass v. Denney (In re Bass), 171 F.3d 1016.

       Plaintiff also requests that the Court compel the Peak Trust Defendants to produce

documents responsive to its First Requests for Production of Documents Nos. 1-9. These Requests

seek production of the following documents:

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       Request No. 1         Copies of state and federal income tax returns for the Trust
                             for the tax years 1998 to the present.

       Request No. 2         Copies of all deeds and supporting or other documents
                             pertaining to . . . any transfers of real property made to, from,
                             or by the Trust from January 1, 1998 to the present.

       Request No. 3         Copies of all documents showing payments made from the
                             Trust to or on behalf of either Olma V. Peak or Velma M.
                             Peak from January 1, 2005 to the present.

       Request No. 4         All documents pertaining to . . . any real property owned by
                             the Trust since January 1, 1998.

       Request No. 5         Copies of all title documents or other documents pertaining
                             to . . . any transfers of personal property made to, from, or by
                             the Trust from January 1, 1998 to the present.

       Request No. 6         Copies of all appraisals for real realty or personal property
                             owned by the Trust that date after January 1, 1998.

       Request No. 7         A copy of the stock certificates and other documents in which
                             the Trust has held an interest since January 1, 1998 of any
                             incorporated or unincorporated business[es] that were
                             transferred to the Trust by Olma V. Peak, Velma M. Peak, P
                             & H Cattle Company, Inc. or Emporia Livestock Sales, Inc.

       Request No. 8         All documents showing any interest held by the Trust in any
                             other real or personal property that had been owned at any
                             time in the past or is presently owned by Olma V. Peak,
                             Velma M. Peak, P & H Cattle Company, Inc. or Emporia
                             Livestock Sales, Inc. of any kind not otherwise listed in these
                             request[s] for production.

       Request No. 9         All documents evidencing any lease or operating agreement
                             between the Trust, Olma V. Peak, or Velma M. Peak and any
                             third party of the livestock auction or sales facility in
                             Emporia, Kansas formerly operated by P & H Cattle
                             Company, Inc. or Emporia Livestock Sales, Inc.

       The Peak Trust Defendants asserted the same objections to Plaintiff’s nine requests for

production as they asserted to the interrogatories, i.e., that the Peak Trust is an irrevocable


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spendthrift trust which has not been set aside by any court order, the information and documents

sought is privileged and confidential, and Plaintiff is attempting to conduct a prejudgment aid and

execution style hearing in regard to the assets of the spendthrift trust without first setting aside the

Peak Trust.

       B.       Objections to Discovery Sought

       In their response to Plaintiff’s Motion to Compel Discovery, the Peak Trust Defendants

reassert their objections that the trust contains a spendthrift provision which renders the trust

immune to attachment or garnishment by a judgment creditor and Plaintiff is attempting to conduct

a prejudgment aid and execution style hearing in regard to the assets of the spendthrift trust without

first setting aside the Peak Trust. They do not, however, reassert any objection that the information

sought is privileged and confidential. In addition, there is no indication that the Peak Trust

Defendants have provided Plaintiff with a privilege log for any documents they are withholding

based upon a claim of privilege. Absent any showing of production of a privilege log, the Court will

therefore consider these objections to be abandoned by the Peak Trust Defendants. The Court will

therefore limit its discussion to the objections reasserted by the Peak Trust Defendants in their

response to the motion to compel.

       The Peak Trust Defendants argue in their response to the motion to compel that Plaintiff is

seeking to compel the Peak Trust and trustees to violate their fiduciary duties and disclose business

and transactions of the Peak Trust prior to ever obtaining a judgment to set aside transfers to the

Trust. They point out that Olma and Velma Peak, in their aid and execution proceedings, produced

all of the documentation and information relating to their transfers to the Peak Trust. The

information sought by Plaintiff in the present motion to compel concerns the trustees’ actions and


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the accounts of the Peak Trust after the transfers. The Peak Trust Defendants’ position is that until

the Court determines that the already disclosed transfers to the Trust were in fact fraudulent there

can be no further discovery of the actions of the Trust and trustees. They cite the Fifth Circuit case,

Bass v. Denny,12 for the universally recognized corollary that “courts can neither prevent or force

the exercise of discretion by the trustee nor specify a particular exercise or otherwise interfere with

or impinge such discretion when it is expressly vested without condition or limitation, under the

terms of the trust instrument.”13 The Peak Trust Defendants also point out that the Kansas Uniform

Fraudulent Transfers Act is inapplicable to this case because it did not become effective until

January 1, 1999, which is after the February 17, 1998 creation date of the Peak Trust and after the

transfers to the Peak Trust by Olma and Velma Peak.

        Plaintiff argues that the Peak Trust Defendants’ reliance on a Fifth Circuit case, Bass v.

Denny, does not support their position, even if it were applicable in Kansas. According to Plaintiff,

even under Texas law, where Bass arose, discovery regarding fraudulent transfers is permissible

even when the trust is irrevocable.

        In Bass, the Fifth Circuit held that the bankruptcy court erred by entering a mandatory

injunction commanding trustees of a spendthrift trust to furnish judgment creditors with advance

notice of intended discretionary distributions to the debtor. Even if the Court were bound by Bass,

which it is not, the Court finds the case does not stand for the proposition that a spendthrift trust and

its trustees are exempt from a court order compelling them to provide discovery. A spendthrift trust

is a trust created to provide a fund for the maintenance of a beneficiary and at the same time secure


        12
             171 F.3d 1016, 1028-29 (5th Cir. 1984).
        13
             Id.

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the fund against the beneficiary’s improvidence or incapacity, and contains provisions against

alienation of the trust fund by the voluntary act of the beneficiary or by his creditors.14 Kansas law

recognizes that incorporation of spendthrift restrictions into a trust can result in the trust assets and

income being protected from the claims of a beneficiary’s creditors.15 In this case, the Peak Trust

Defendants claim that the Peak Trust is a spendthrift trust and therefore Plaintiff, as a creditor of

Olma and Velma Peak, cannot compel or force the trustees to provide information regarding the

Peak Trust.

        The Court finds that regardless of whether the Peak Trust is in fact a spendthrift trust as

asserted does not control the issue of whether Plaintiff can compel the Peak Trust Defendants to

respond to its discovery requests. The Peak Trust Defendants have not cited any authority, and the

Court has otherwise found none, supporting their argument that trusts with spendthrift provisions

are exempt from discovery, especially where the trust and trustees are named parties in the lawsuit

where the discovery is sought.

        In this case, the Peak Trust Defendants are named as defendants in Counts III and IV of the

complaint.       In those Counts, Plaintiff asserts claims for “debt and to set aside fraudulent

conveyances” under common law and the Kansas Uniform Fraudulent Transfers Act16 against the

Peak Trust Defendants. Plaintiff alleges in its Complaint that Defendants Olma and Velma Peak on

or about February 17, 1998, and thereafter from time to time, transferred a substantial amount of

their real and personal property to the Peak Trust. Thereafter, from time to time the Peak Trust



        14
             In Re Estate of Sowers, 1 Kan. App. 2d 675, 680, 574 P.2d 224, 228 (1977).
        15
             In re Semmel, No. 01-14433, 2003 WL 23838130, at *3 (Bankr. D. Kan. Feb. 27, 2003).
        16
             K.S.A. 33-201 et seq.

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transferred real estate assets to related parties. These transfers were allegedly made with the intent

to hinder, delay, or defraud a creditor and were made without receiving a reasonable equivalent

value in exchange. As to the trustees, Plaintiff alleges that the trustees are relatives of Olma and

Velma Peak and are therefore insiders under K.S.A. 33-201(g)(1)(A) and affiliates under K.S.A. 33-

201(a)(4) and 201(g)(4).

        Because the Peak Trust Defendants are parties to this action, Plaintiff is entitled to discovery

from them regarding its claims asserted against them. Federal Rule of Civil Procedure 26(b)(1)

permits Plaintiff to “obtain discovery regarding any nonprivileged matter that is relevant to any

party’s claim or defense.” Relevant information need not be admissible at the trial if the discovery

appears reasonably calculated to lead to the discovery of admissible evidence.”17 Relevancy is

broadly construed, and a request for discovery should be considered relevant if there is “any

possibility” that the information sought may be relevant to the claim or defense of any party.18

Consequently, a request for discovery should be allowed “unless it is clear that the information

sought can have no possible bearing” on the claim or defense of a party.19

        In this motion, the Court finds that Plaintiff has sufficiently shown that the discovery sought

is relevant to Counts III and IV of their Complaint to set aside the trust. Specifically, the Court finds

the interrogatories and requests for production, which seek information on transfers of real estate

and personal property from any of the Peak Indemnity Defendants to the Peak Trust, to be relevant


        17
             Fed. R. Civ. P. 26(b)(1).
        18
          Cardenas v. Dorel Juvenile Group, Inc., 232 F.R.D. 377, 382 (D. Kan. 2005) (citing Owens
v. Sprint/United Mgmt. Co., 221 F.R.D. 649, 652 (D. Kan. 2004); Sheldon v. Vermonty, 204 F.R.D.
679, 689-90 (D. Kan. 2001)).
        19
             Cardenas, 232 F.R.D. at 382 (citations omitted).

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to Plaintiff’s claim that these transfers were fraudulent and made with the intent to hinder, delay, or

defraud creditors. The fact that the discovery requests seek information on transfers to the Peak

Trust occurring from January 1, 1998 to the present, after the date of the creation of the Peak Trust,

does not make the interrogatories irrelevant. Plaintiff does not limit its claims to fraudulent transfers

made at the time of the creation of the Peak Trust. Thus, information on transfers made by Olma

and Velma Peak after the February 17, 1998 creation date would be relevant to Plaintiff’s claims and

thus discoverable. In addition, the fact that the Peak Trust was created before the January 1, 1999

effective date of the Kansas Uniform Fraudulent Transfers Act does not make the discovery sought

moot because Plaintiff is also asserting a claim to set aside fraudulent conveyances under common

law.

        The Court therefore finds that under Fed. R. Civ. P. 26(b) Plaintiff is entitled to discovery

from the Peak Trust Defendants in support of its claims and allegations contained in Counts III and

IV. Defendants the Peak Trust and its trustees cannot evade their duty as named defendants in this

action to avoid discovery by asserting that the trust contains a spendthrift provision. That the Peak

Trust may be an irrevocable spendthrift trust is not a valid objection to discovery where Plaintiff has

asserted claims directly against the Peak Trust and its trustees.

        Plaintiff would also be entitled to post-judgment discovery from the Peak Trust Defendants

in aid of execution of its judgment against the Peak Indemnity Defendants. Under Federal Rule of

Civil Procedure 69(a)(2), a judgment creditor is permitted to obtain discovery from any person in

aid of execution of a judgment. It provides that the judgment debtor “may obtain discovery from

any person — including the judgment debtor — as provided in these [Federal] rules or by the




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procedure of the state where the court is located.”20 “The discovery provisions of the Federal Rules

of Civil Procedure were designed to afford the parties the right to obtain information pertinent to the

pending controversy, and to effectuate that purpose they are to be liberally construed. That basic

philosophy applies with equal force whether the information is sought in a pre-trial or in a

post-judgment discovery proceeding.”21 The law allows judgment creditors to conduct full

post-judgment discovery to aid in executing a judgment.22 The broad scope of post-judgment

discovery permits a judgment creditor to discover assets of the judgment debtor upon which

execution may be made.23 Discovery is also allowed to find out about assets that have been

fraudulently transferred or are otherwise beyond the reach of execution,24 as well as information

“which could reasonably lead to the discovery of concealed or fraudulently transferred assets.”25

       While the scope of post-judgment discovery is broad and can be sought from any party, third

parties generally may be examined only about the judgment debtor’s assets and cannot be required

to disclose their own assets.26 However, “discovery has been allowed against a non-judgment debtor



       20
            Fed. R. Civ. P. 69(a)(2) (emphasis added).
       21
            United States v. McWhirter, 376 F.2d 102, 106 (5th Cir. 1967).
       22
            Credit Lyonnais, S.A. v. SGC Int’l, Inc., 160 F.3d 428, 430 (8th Cir. 1998).
       23
            Federal Deposit Ins. Corp. v. LeGrand, 43 F.3d 163, 172 (5th Cir. 1995).
       24
       Caisson Corp. v. County West Bldg. Corp., 62 F.R.D. 331, 334 (E.D. Pa. 1974); 12 Charles
Alan Wright et al., Federal Practice and Procedure § 3014 (2d ed. 1997).
       25
        OHM Res. Recovery Corp. v. Indus. Fuels & Res., Inc., No S90-511, 1991 WL 146234, at
*2 (N.D. Ind. July 24, 1991).
       26
        Trustees of Amalgamated Ins. Fund v. Jordan Mfg. Corp., No. 07-21301-MC, 2008 WL
343132, at *1 (S.D. Fla. Feb. 5, 2008); 12 Charles Alan Wright et al., Federal Practice and
Procedure § 3014 (2d ed. 1997).

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upon a somewhat heightened showing of necessity and relevance-i.e., at least some demonstration

of concealed or fraudulent transfers or alter ego relationship with the judgment debtor.”27 In

addition, objections to post-judgment discovery based upon the argument that some of the judgment

debtor’s assets are exempt from execution have not met with approval.28

       Here, Plaintiff has raised an issue about the propriety of the transfer of assets between Olma

and Velma Peak and the Peak Trust sufficient to permit discovery regarding any asset transfers from

the judgment debtors, the Peak Indemnity Defendants, to the Peak Trust. The Court will therefore

order the Peak Trust Defendants to serve Plaintiff with their answers to Interrogatory Nos. 2-5, and

produce documents responsive to Request for Production Nos. 2-9. The Court, however, will not

compel the Peak Trust Defendants to produce state and federal tax returns of the Peak Trust

responsive to Request No. 1. Plaintiff has failed to make the additional showing required to compel

their production. Although no absolute privilege precludes discovery of tax returns, courts generally

require an additional showing before compelling their production.29 The District of Kansas applies

a two-pronged test to assure a balance between the liberal scope of discovery and the policy favoring

the confidentiality of tax returns.30 “First, the court must find that the returns are relevant to the


       27
         Uniden Corp. of Am. v. Duce Trading Co., Ltd., No. 89-CV-0878E, 1993 WL 286102, at
*1 (W.D.N.Y. July 19, 1993). See also Credit Lyonnais, 160 F.3d at 430 (reversing district court’s
denial of motion to compel the post-judgment deposition of “closely linked” corporate officer of
debtor corporation).
       28
        See White v. Gen. Motors Corp., Civ. A. No. 88-2053-S, 1990 WL 47437, at *1 (D. Kan.
Mar. 13, 1990) (discovery objection that some assets may ultimately prove to be exempt from
execution found to be without merit).
       29
         See Cont’l Coal, Inc. v. Cunningham, No. 06-2122-KHV, 2007 WL 4241848, at *3 (D.
Kan. Nov. 28, 2007) (applying two-prong test to assure a balance between liberal scope of discovery
and policy favoring confidentiality of tax returns).
       30
            Id.

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subject matter of the action. Second, the court must find that there is a compelling need for the

returns because the information contained therein is not otherwise readily obtainable.”31 Plaintiff

has made no showing as to the relevancy of the Peak Trust’s tax returns or a compelling need for

them. The Court therefore declines to order production of the state and federal tax returns of the

Peak Trust, as sought by Plaintiff’s Request No. 1.

       Plaintiff’s Motion to Compel Discovery is therefore granted in part and denied in part.

Within thirty (30) days from the date of this Memorandum and Order, the Peak Trust

Defendants shall serve Plaintiff with their answers to Plaintiff’s Interrogatory Nos. 2-5, and produce

documents responsive to Requests for Production Nos. 2-9.

       C.         Request for Reasonable Expenses

       Plaintiff also seeks its reasonable expenses incurred in making the motion pursuant to Fed.

R. Civ. P. 37(a)(5)(A) and 26(g)(3), arguing that Defendants’ refusals to allow this discovery and

continued concealment of the assets transferred into the Peak Trust by the judgement debtors, Olma

and Velma Peak, are not substantially justified.

       Pursuant to Federal Rule of Civil Procedure 37(a)(4)(C), when a court grants in part and

denies in part a motion to compel, the court may “apportion the reasonable expenses incurred in

relation to the motion among the parties and persons in a just manner.”32 Here, the Court finds it

appropriate and just for the parties to bear their own expenses and fees incurred in connection with

the filing of the motion to compel.



       31
        Audiotext Commc’ns Network, Inc. v. U.S. Telecom, Inc., No. 94-2395-GTV, 1995 WL
625962, at *11 (D. Kan. Oct. 5, 1995).
       32
            Fed. R. Civ. P. 37(a)(4)(C).

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III.     MOTION TO QUASH DEPOSITIONS

         Plaintiff has also filed a Motion to Quash Depositions pursuant to Fed. R. Civ. P. 16(b) and

45(c)(3)(A)(iii). It requests that the Court quash the Peak Trust Defendants’ Notice to Take

Depositions Duces Tecum served on January 13, 2009, arguing that the notice was served after the

discovery deadline and is therefore untimely. It also argues that the motion should be denied

because the Peak Trust Defendants have refused to cooperate in responding to discovery submitted

to them, and that the deposition notice seeks irrelevant and unduly burdensome information, as well

as information protected by the attorney-client privilege and the work product doctrine.

         A.     Timeliness of the Deposition Notice

         Plaintiff first urges the Court to grant its motion to quash by finding the Peak Trust

Defendants’ Notice to Take Depositions Duces Tecum to be untimely as it was served after the

discovery deadline. It argues that the Peak Trust Defendants provided no notice of their intent to

take a deposition of its representative until nearly five months after discovery closed, and that

because the Peak Trust Defendants have consistently failed and refused to comply with discovery

rules, they should not be allowed to use discovery beyond what is permitted by the Scheduling

Order.

         The Peak Trust Defendants respond by stating that the Court held a telephone conference

with the parties on August 25, 2008, and during that conference the Court indicated that it would

not set any case management deadlines until it ruled upon Plaintiff’s motion to compel. Defendants

therefore contend that discovery is not closed. The Peak Trust Defendants also contend that they

should not be punished by not being allowed to conduct discovery simply because they objected to

Plaintiff’s discovery.    In its reply, Plaintiff argues that the Peak Trust Defendants have


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misinterpreted the Court’s actions at the telephone conference and their discovery requests are

untimely. The Court stated that it would defer setting case deadlines until after the motion to compel

was resolved, but the time for discovery had already expired and the Court did not order that the

time for conducting discovery would be reopened.

       On June 17, 2008, the Court vacated the current case schedule and granted the parties sixty

days to conduct and complete any necessary discovery.33 Thereafter, on August 25, 2008, the Court

expressly deferred setting any case deadlines for Counts III and IV until after it ruled on Plaintiff’s

motion to compel. The Court’s deferral of setting any case deadlines therefore stayed the deadline

for completion of discovery pending its ruling on Plaintiff’s motion to compel. The Peak Trust

Defendants’ Notice to Take Depositions Duces Tecum served upon Plaintiff on January 13, 2009

was therefore timely.

       B.        Specific Topics and Documents Sought by the Peak Trust Defendants’
                 Deposition Notice

       The Notice To Take Deposition Duces Tecum served by the Peak Trust Defendants requires

Plaintiff to produce a Rule 30(b)(6) corporate representative to testify regarding nineteen areas of

inquiry (Topic Nos. 1-19) and seeks production of documents for sixteen requests (Request Nos. 20-

34). Plaintiff argues in its Motion to Quash that the topics and document requests contained in the

Notice are overly broad and unduly burdensome in that they include extensive information unrelated

to this action and not likely to lead to the discovery of admissible evidence. It further objects that

the topics and document requests seek information protected by the attorney-client privilege and the

work product doctrine. For ease of discussion, the Court will group the Rule 30(b)(6) areas of



       33
            See June 15, 2008 Minute Order (doc. 115).

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inquiry with their corresponding document requests.

                1.         Information on General Indemnity Agreements

        In Deposition Notice Topic Nos. 1-3, the Peak Trust Defendants seek a representative of

Plaintiff to testify as to Plaintiff’s drafting, preparation, and utilization of General Indemnity

Agreements (“GIAs”), its policy and procedures regarding GIAs, and whether it has any

requirements to obtain financial information from individual or entities signing GIAs.

Corresponding Request No. 20 seeks “[a]ll documents regarding Plaintiff drafting, preparing and

use of General Indemnity Agreements from 1990 through the date of the filing of this lawsuit.”

Request No. 21 seeks “[t]he policy the procedures of Plaintiff regarding General Indemnity

Agreements from 1990 through the date of the filing of this lawsuit.” Request No. 22 seeks “[a]ll

documents setting forth any requirements of the Plaintiff to provide financial information by

individuals or entities that signed General Indemnity Agreements from 1990 through the date of the

filing of this lawsuit.”

        Plaintiff objects to Topic Nos. 1-3, and Request Nos. 20-22 because they seek information

or documents regarding indemnity agreements and other matters that are no longer relevant to this

action. While these areas of inquiry and document requests may be relevant to Plaintiff’s

contractual indemnity claims, which the Court has already ruled upon, they do not appear relevant

to Plaintiff’s claims to set aside the Peak Trust contained in Counts III and IV of the complaint. The

Court agrees with Plaintiff that the topics and document requests for information on the GIAs are

no longer are relevant as the Court has already entered summary judgment on Plaintiff’s claim for

contractual indemnity. The Peak Trust Defendants have not otherwise shown how this information

would be relevant to the remaining claims to set aside fraudulent transfers to the Peak Trust. The


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Court will therefore grant Plaintiff’s Motion to Quash as to Topic Nos. 1-3, and Request Nos. 20-22.

                  2.     Financial information received or requested from Defendants

       Deposition Topic Nos. 4-12 seek testimony “regarding any financial information received

or requested from” the Peak Indemnity Defendants, as well as Plaintiff’s review of such financial

information which references or discusses their financial condition. Corresponding with these topics

are Request for Production Nos. 23-31. Specifically, Request Nos. 23-24, 26-27, and 29-30

respectively seek all documents regarding any financial information received or requested from the

Peak Indemnity Defendants for the period 1990 through the date of the filing of this lawsuit.

Request Nos. 25, 28, and 31 seek documents regarding the review of any financial information by

the Plaintiff which referenced or discussed the respective financial condition of the Peak Indemnity

Defendants prior to the filing of this lawsuit.

       Plaintiff objects to these Topics and Requests on the grounds they seek irrelevant information

and are not limited in time or scope. It further objects that they seek information protected by the

attorney-client privilege and the work product doctrine.

       Federal Rule of Civil Procedure 30(b)(6) allows a party to notice the deposition of an

organization and to specify the areas of inquiry. It requires that the party seeking to depose an

organization “must describe with reasonable particularity the matters for examination.”34 For Rule

30(b)(6) to effectively function, the requesting party must take care to designate, with painstaking

specificity, the particular subject areas that are intended to be questioned, and that are relevant to




       34
            Fed. R. Civ. P. 30(b)(6).

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the issues in dispute.35 Otherwise, an overly broad Rule 30(b)(6) notice may subject the noticed

party to an impossible task.36 If the noticed organization cannot identify the outer limits of the areas

of inquiry noticed, compliant designation is not feasible.37

       Fed. R. Civ. P. 34(b)(1)(A) likewise requires that a request for production “must describe

with reasonable particularity each item or category of items to be inspected.”           Though what

qualifies as “reasonabl[y] particular” depends at least in part on the circumstances of each case, a

discovery request should be sufficiently definite and limited in scope that it can be said “to apprise

a person of ordinary intelligence what documents are required and [to enable] the court . . . to

ascertain whether the requested documents have been produced.”38

       Applying these standards, the Court finds that the Peak Trust Defendants’ deposition topics

and document requests which seek testimony and documents on “any financial information received

or requested from” the Peak Indemnity Defendants, as well as Plaintiff’s review of such financial

information which references or discusses their financial condition, are overly broad in that they fail

to describe the testimony and documents sought with reasonable particularity. The topics seeking

testimony regarding “any financial information received or requested” from the Peak Indemnity

Defendants with no temporal limitation does not satisfy the reasonable particularity requirement of

Rule 30(b)(6) sufficient to put Plaintiff on notice for what it should prepare its representative to


       35
        Sprint Commc’ns Co., L.P. v. Theglobe.com, Inc., 236 F.R.D. 524, 528 (D. Kan. 2006);
E.E.O.C. v. Thorman & Wright Corp., 243 F.R.D. 421, 426 (D. Kan. 2007).
       36
        Steil v. Humana Kan. City, Inc., 197 F.R.D. 442, 444 (D. Kan. 2000); Reed v. Bennett, 193
F.R.D. 689, 692 (D. Kan. 2000).
       37
            Reed, 193 F.R.D. at 692.
       38
        Regan-Touhy v. Walgreen Co., 526 F.3d 641, 649-50 (10th Cir. 2008) (quoting 8A Wright
& Miller, Federal Practice and Procedure § 2211).

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testify. In addition, the Court finds the corresponding document requests for “all documents

regarding any financial information received or requested from” the Peak Indemnity Defendants

from 1990 through the date of this lawsuit likewise overly broad. Plaintiff’s objections to these

Topics and Requests are therefore sustained. Plaintiff’s Motion to Quash is granted as to Topic Nos.

4-12 and Request Nos. 23-31.

               3.      Documents concerning any defendants

       Topic No. 13 seeks testimony from Plaintiff on “any documents maintained by the Plaintiff

concerning any of the Defendants.” Corresponding to this topic is Request No. 32, which seeks

“[a]ll documents maintained by the Plaintiff concerning any of the Defendants by the Plaintiff from

1990 through the date of the filing of this lawsuit.”

       Plaintiff objects to Topic No. 13 on the grounds it is not limited in time or scope, and seeks

information that is protected by attorney-client privilege and work product doctrine. The Court

agrees that the broadly worded topic of “any documents maintained by the Plaintiff concerning any

of the Defendants” is not described with reasonable particularity as required by Rule 30(b)(6).

Furthermore, it fails to limit the scope of the topic to the defendants and claims remaining in the case

and thus seeks irrelevant information. The Court also finds the corresponding request for production

of “all documents maintained by the Plaintiff concerning any of the Defendants by the Plaintiff from

1990 through the date of the filing of this lawsuit” fails to describe with reasonable particularity the

documents sought. It too seeks documents are that no longer relevant to the remaining claims in the

case. Plaintiff’s objections to Topic No. 13 and Request No. 32 are sustained. Plaintiff’s Motion

to Quash is granted as to Topic No. 13 and Request No. 32.

               4.       Information regarding intent of transfers


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       In Topic Nos. 14 and 16, the Peak Trust Defendants request a representative to testify to

information and documents regarding Plaintiff’s claims and allegations that the transfer of real estate

to the Peak Trust was with the intent to hinder, delay, or defraud a creditor, specifically Plaintiff.

Topic No. 15 similarly seeks testimony regarding information and documents regarding the alleged

participation of the Peak Trust, acting through its trustees, in the fraudulent scheme or such

knowledge of facts and circumstances as would import knowledge of the fraud.

       The Court finds that these Topics seek, with reasonably particularity, information about

Plaintiff’s claims and allegations that assets of Olma and Velma Peak were fraudulently transferred

to the Peak Trust for the purpose of hindering, delaying, and defrauding it as creditor. Plaintiff

relevancy objections to Topic Nos. 14-16 are therefore overruled.

       Plaintiff also objects to the Topics on the grounds they seek information that is protected by

attorney-client privilege and work product doctrine. Courts addressing this issue have generally

declined to uphold attorney-client and work product objections to topics set out in Rule 30(b)(6)

notices unless the requested topics, on their face, call for testimony invading the attorney-client

privilege or attorney work product doctrine.39         Accordingly, the Court finds that the blanket

assertions of attorney-client privilege and work product against the deposition topics are premature.

The Court does not find that the topics on their face call for testimony invading the attorney-client



       39
          See United States v. Hodgson, 492 F.2d 1175, 1177 (10th Cir. 1974) (holding that
assertions of privilege must normally be raised “as to each record sought and each question asked
so that . . . the court can rule with specificity”); Sprint, 236 F.R.D. at 529 (holding that blanket
assertions of privilege before any questions have been asked at a Rule 30(b)(6) deposition are
premature); Carolina Indus. Prods., Inc. v. Learjet Inc., No. CIV. A. 00-2366-JWL, 2001 WL
1155297, at *3 (D. Kan. Aug. 10, 2001) (finding topic on its face did not call for testimony invading
privilege, but recognizing that objections could be asserted to specific deposition questions eliciting
privileged or protected information).

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privilege or work product doctrine. The Court recognizes that specific questions could elicit

privileged or protected information. If that happens, then Plaintiff may assert its privilege at that

time.

        Plaintiff’s Motion to Quash is denied as to Topic Nos. 14-16. The parties shall meet and

confer regarding a mutually convenient time within the next sixty (60) days for Plaintiff to produce

a designated representative to testify about the matters set forth in Topic Nos. 14-16.

               5.      Plaintiff’s specific allegations as to the transfers

        Topic No. 17 inquires as to several of Plaintiff’s allegations, including (a) whether the

alleged transfer was to an insider, (b) whether the debtor retained possession or control over the

property transferred, (c) whether the transfer was disclosed or concealed, (d) whether before the

transfer was made or the obligation was incurred the debtor had been sued or threatened with suit;

(e) whether the transfer was of substantially all of debtor’s assets; (f) whether the debtor absconded;

(g) whether the debtor removed or concealed assets; (h) whether the value of the consideration

received by the debtor was reasonably equivalent to the value of the asset transferred or the amount

of the obligation incurred; (i) whether the debtor was insolvent or became insolvent shortly after the

transfer was made or the obligation was incurred; (j) whether the transfer occurred shortly before

or shortly after a substantial debt was incurred; and (k) whether the debtor transferred the essential

assets of the business to a lienor who transferred the assets to an insider of the debtor.

Corresponding Request No. 33 seeks all documents regarding these allegations.

        The Court finds that Topic No. 17 and Request No. 33 seek, with reasonably particularity,

relevant information to further flesh out Plaintiff’s allegations with regard to the transfers of assets

to the Peak Trust. Plaintiff overly broad and relevancy objections are therefore overruled.


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        Plaintiff also objects that Request No. 33 seeks documents protected by the attorney-client

privilege and work product doctrine. To the extent that this Request calls for the production of

documents containing information protected from disclosure by the attorney-client privilege or that

constitute work product, Plaintiff shall comply with Fed. R. Civ. P. 26(b)(5)(A). That Rule sets

forth the proper procedure for a party withholding privileged or work product information to

advance a claim that such material is privileged or protected by the work product doctrine. For any

documents responsive to Request No. 33 that Plaintiff intends to withhold from production on the

grounds they are protected by the attorney-client privilege or constitute work product, it must serve

the Peak Trust Defendants with a privilege log.

        Plaintiff’s Motion to Quash is therefore denied as to Topic No. 17 and Request No. 33. The

parties shall meet and confer regarding a mutually convenient time within the next sixty (60) days

for Plaintiff to produce a designated representative to testify about the matters set forth in Topic No.

17 and to produce documents responsive to Request No. 33.

                6.      Plaintiff’s allegations that transfers were made without receiving
                        reasonably equivalent value in exchange

        Finally, in Topic Nos. 18 and 19, the Peak Trust Defendants identify the area of inquiry as

“information or documents that the alleged transfer of real estate by the Peaks were made without

receiving a reasonably equivalent value in exchange for the transfer.” Topic No. 18 seeks testimony

inquiring whether (a) the Peaks were engaged in a business or transaction for which the remaining

asserts were unreasonably small, or (b) they intended to incur or believed they would incur debts

beyond their ability to pay. Topic No. 19 seek testimony on whether (a) the Peaks were insolvent

at the time or became insolvent as a result of the transfer, or (b) if they made a transfer to an insider

for an antecedent debt, the Peaks were insolvent at that time and the insider had reasonable cause

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to believe they were insolvent. Corresponding Request Nos. 33a40 seeks:

       All documents that the alleged transfers of real estate by the Peaks were made
       without receiving a reasonably equivalent value in exchange for the transfer and: (a)
       The Peaks were engaged or were about to engage in a business or transaction for
       which the remaining assets of the Peaks were unreasonably small in relation to the
       business or transaction; or (b) The Peaks intended to incur, debts beyond their ability
       to pay as they became due.

Request No. 34 likewise seeks the same information except based upon the claim the Peaks were

insolvent at the time or become insolvent as a result of the transfer or obligation, or made the

transfer to an insider for an antecedent debt.

       Plaintiff objects to Topic Nos. 18-19, and Request Nos. 33a-34 on the grounds they seek

irrelevant information, they are not limited in time or scope, and they seek information protected by

attorney-client privilege and the work product doctrine.

       The Court finds that Topic Nos. 18-19 and Request Nos. 33a-34 seek, with reasonably

particularity, relevant information to further flesh out Plaintiff’s allegations with regard to the

allegedly fraudulent transfers of assets to the Peak Trust. They specifically seek information or

documents about Plaintiff’s allegations that the transfers of real estate to the Peak Trust were made

without receiving a reasonably equivalent value in exchange for the transfer, the Peaks were engaged

or were about to engage in a business or transaction for which the remaining asserts were

unreasonably small, and the Peaks were insolvent at the time or became insolvent as a result of the

transfer. These topics and requests therefore seek information relevant to Plaintiff’s allegations in

support of its claims to set aide the transfers to the Peak Trust. They also do not appear overly broad

as they specifically limit the scope to specific allegations with regard to factual circumstances


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         The Court notes that two document requests are numbered 33. The Court will refer to the
second request number 33 as “33a.”

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surrounding the asset transfers. Plaintiff’s overly broad and relevancy objections are therefore

overruled.

       Plaintiff also objects that Request Nos. 33a and 34 seek documents protected by the attorney-

client privilege and work product doctrine. As discussed above, to the extent that these Requests

call for the production of documents containing information protected from disclosure by the

attorney-client privilege or that constitutes work product, Plaintiff shall comply with Fed. R. Civ.

P. 26(b)(5)(A) and produce a privilege log describing each document withheld from production.

       Plaintiff’s Motion to Quash is therefore denied as to Topic Nos. 18-19 and Request No. 33a-

34. The parties shall meet and confer regarding a mutually convenient time within the next sixty

(60) days for Plaintiff to produce a designated representative to testify about the matters set forth

in Topic Nos. 18-19 and to produce documents responsive to Request No. 33a-34.

       IT IS THEREFORE ORDERED that Plaintiff’s Motion to Compel Responses to

Discovery (doc. 124) is granted in part and denied in part. The Peak Trust Defendants shall have

thirty (30) days from the date of this Memorandum and Order to serve their answers and produce

documents responsive to Plaintiff’s First Interrogatories Nos. 2-5 and Request for Production of

Documents Nos. 2-9. Each party shall bear its own fees and expenses incurred in relation to the

motion to compel.

       IT IS FURTHER ORDERED that Plaintiff’s Motion to Quash Deposition (doc. 135) is

granted in part and denied in part. The parties shall meet and confer regarding a mutually

convenient time within the next sixty (60) days for Plaintiff to produce a designated representative

to testify about the matters set forth in Topic Nos. 14-19 and to produce documents responsive to

Request Nos. 33, 33a, and 34.


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       IT IS FURTHER ORDERED that a telephone status conference is set for October 26,

2009 at 2:00 p.m. The Court will initiate the conference call.

       IT IS SO ORDERED.

       Dated in Kansas City, Kansas, this 10th day of September, 2009.



                                                           s/ David J. Waxse
                                                           David J. Waxse
                                                           United States Magistrate Judge




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